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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

RALPH LYDELL VEASY,
Petitioner,

vs. No. 05-2386-Ml/V

T.C. OUTLAW,

Respondent.

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ORDER TO RESPOND TO PETITION PURSUANT TO 28 U.S.C. § 2241

 

Petitioner Ralph Lydell Veasy, Bureau of Prisons inmate

registration number 14596-076, an inmate at the Federal
Correctional Institution_in Memphis (“FCI-Memphis”), filed_a pro §§

petition pursuant to 28 U.S.C. § 2241 on May 24, 2005. The Court
issued an order on July 15, 2005 directing the petitioner, within
thirty (30) days, to file a properly completed in fg;ma pauperis
affidavit or pay the habeas filing fee. The petitioner paid the
habeas filing fee on July 29, 2005.

lt is ORDERED that the respondent shall file a response
to the petition within twenty-three (23) days.

It is further ORDERED that the Clerk shall serve a copy
of the petition and this order on the respondent by certified mail
and shall provide a copy of the petition and this order to the
United States .Attorney' for the Western. District of Tennessee.

Pursuant to Fed. R. Civ. P. 4(i), the Clerk shall also send copies

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of the petition and this order` by' certified. mail to .Attorney
General Alberto R. Gonzales and Harley G. Lappin, the Director of
the BOP.

IT IS SO ORDERED this §jgl day of August, 2005.

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Jo' PHIPPS MCCALLA
UN TED sTATEs DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02386 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Ralph Lydell Veasey

Federal Correctional Institution
14596-076

P.O. Box 34550

Memphis7 TN 3 8184

Honorable J on McCalla
US DISTRICT COURT

